Case 1:12-cr-01248-MV Document 121 Filed 03/01/13 Page 1 of 8

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA, )
)
Plaintiff, )

) |Z YS IN uv

VS. ) Cr. No. |2-cr-26+9-#?
)
HERBERT BEN, Jr., )
)
Defendant. )
PLEA AGREEMENT

Pursuant to Rule 11, Fed. R. Crim. P., the parties notify the Court of the following
agreement between the United States Attorney for the District of New Mexico, the Defendant,
HERBERT BEN, Jr., and the Defendant’s counsel, Michael Alarid, Jr:

REPRESENTATION BY COUNSEL

1. The Defendant understands the Defendant's right to be represented by an attorney
and is so represented. The Defendant has thoroughly reviewed all aspects of this case with the
Defendant's attorney and is fully satisfied with that attorney’s legal representation.

RIGHTS OF THE DEFENDANT

2. The Defendant further understands the Defendant’s rights:
a. to plead not guilty, or having already so pleaded, to persist in that plea;
b. to have a trial by jury; and
é. at a trial:
1) to confront and cross-examine adverse witnesses,

2) to be protected from compelled self-incrimination,
Case 1:12-cr-01248-MV Document 121 Filed 03/01/13 Page 2 of 8

3) to testify and present evidence on the Defendant’s own behalf, and
4) to compel the attendance of witnesses for the defense.

WAIVER OF RIGHTS AND PLEA OF GUILTY

3. The Defendant agrees to waive these rights and to plead guilty to superseceding
information, charging a violation of 18 U.S.C. §§ 1153 and 113(a)(5), that being Simple Assault of

a Person who has not Attained the Age of Sixteen (MISDEMEANOR).

SENTENCING
4. The Defendant understands that the maximum penalty the Court can impose is:
a. imprisonment for a period of not more than | year;
b. a fine not to exceed the greater of $100,000 or twice the pecuniary gain to

the defendant or pecuniary loss to the victim:

Gi a mandatory term of supervised release of not more than | years. If the
Defendant serves a term of imprisonment, is then released on supervised
release, and violates the conditions of supervised release, the Defendant’s
supervised release could be revoked -- even on the last day of the term --
and the Defendant could then be returned to another period of incarceration

and a new term of supervised release:

d. a mandatory special penalty assessment of $25.00; and
€. restitution as may be ordered by the Court.
3: The United States reserves the right to make known to the United States Pretrial

Services and Probation Office and to the Court, for inclusion in the presentence report to be

prepared under Federal Rule of Criminal Procedure 32 any information the United States believes
Case 1:12-cr-01248-MV Document 121 Filed 03/01/13 Page 3 of 8

may be helpful to the Court, including but not limited to information about any relevant conduct
under U.S.S.G. § 1B1.3.

DEFENDANT'S ADMISSION OF FACTS

6. By my signature on this plea agreement, I am acknowledging that I am pleading
guilty because I am, in fact, guilty of the offense(s) to which I am pleading guilty. I recognize and
accept responsibility for my criminal conduct. Moreover, in pleading guilty, I acknowledge that
if | chose to go to trial instead of entering this plea, the United States could prove facts sufficient to
establish my guilt of the offense(s) to which I am pleading guilty beyond a reasonable doubt. |
specifically admit the following facts related to the charges against me, and declare under penalty
of perjury that all of these facts are true and correct:

On October or November of 2010, I touched or applied force to Jane Doe, a person who

had not yet attained the age of sixteen. 1 did so without justification, I was frustrated that

she was not ready for school. 1 am an Indian for purposes of federal law and the incident
occurred on the Navajo Nation which is Indian Country as defined by federal law.

7. By signing this agreement, the Defendant admits that there is a factual basis for
each element of the crime(s) to which the Defendant will plead guilty. The Defendant agrees that
the Court may rely on any of these facts, as well as facts in the presentence report, to determine the

Defendant's sentence, including, but not limited to, the advisory guideline offense level.

STIPULATIONS
8. The United States and the Defendant stipulate as follows:
a. As of the date of this agreement, the Defendant has clearly demonstrated a

recognition and affirmative acceptance of personal responsibility for the
Defendant’s criminal conduct. Consequently, pursuant to U.S.S.G.

3
Case 1:12-cr-01248-MV Document 121 Filed 03/01/13 Page 4 of 8

9.

§ 3E1.1, so long as the Defendant continues to accept responsibility for the
Defendant's criminal conduct, the Defendant is entitled to a reduction of
two levels from the base offense level as calculated under the sentencing
guidelines.

Except under circumstances where the Court, acting on its own, fails to
accept this plea agreement, the Defendant agrees that, upon the Defendant’s
signing of this plea agreement, the facts that the Defendant has admitted
under this plea agreement as set forth above, as well as any facts to which
the Defendant admits in open court at the Defendant's plea hearing, shall be
admissible against the Defendant under Federal Rule of Evidence
801(d)(2)(A) in any subsequent proceeding, including a criminal trial, and
the Defendant expressly waives the Defendant's rights under Federal Rule
of Criminal Procedure 11(f) and Federal Rule of Evidence 410 with regard

to the facts the Defendant admits in conjunction with this plea agreement.

The Defendant understands that the above stipulations are not binding on the Court

and that whether the Court accepts these stipulations is a matter solely within the discretion of the

Court after it has reviewed the presentence report. Further, the Defendant understands that the

Court may choose to vary from the advisory guideline sentence. The Defendant understands that

if the Court does not accept any one or more of the above stipulations and reaches an advisory

guideline sentence different than expected by the Defendant, or if the Court varies from the

advisory

guideline range, the Defendant will not seek to withdraw the Defendant's plea of guilty.

In other words, regardless of any stipulations the parties may enter into, the Defendant's final

sentence is solely within the discretion of the Court.

4
Case 1:12-cr-01248-MV Document 121 Filed 03/01/13 Page 5 of 8

DEFENDANT’S ADDITIONAL OBLIGATIONS

10. The Defendant understands the Defendant’s obligation to provide the United States
Pretrial Services and Probation Office with truthful, accurate, and complete information. The
Defendant represents that the Defendant has complied with and will continue to comply with this
obligation.

WAIVER OF APPEAL RIGHTS

11. The Defendant is aware that 28 U.S.C. § 1291 and 18 U.S.C. § 3742 afford a
Defendant the right to appeal a conviction and the sentence imposed. Acknowledging that, the
Defendant knowingly waives the right to appeal the Defendant's conviction(s) and any sentence,
including any fine, at or under the maximum statutory penalty authorized by law. In addition, the
Defendant agrees to waive any collateral attack to the Defendant's conviction(s) pursuant to 28
U.S.C. § 2255, except on the issue of counsel's ineffective assistance in negotiating or entering this
plea or this waiver.

GOVERNMENT’S AGREEMENT

12. Provided that the Defendant fulfills the Defendant's obligations as set out above,
the United States agrees that:
a. Following plea of Guilty, the United States will move to dismiss Count 3 of
the indictment.
b. The United States will not bring additional criminal charges against the
Defendant arising out of the facts forming the basis this single incident of

Simple Assault.
Case 1:12-cr-01248-MV Document 121 Filed 03/01/13 Page 6 of 8

13. This agreement is limited to the United States Attorney’s Office for the District of
New Mexico and does not bind any other federal, state, or local agencies or prosecuting

authorities.

VOLUNTARY PLEA

14. | The Defendant agrees and represents that this plea of guilty is freely and voluntarily
made and is not the result of force, threats, or promises (other than the promises set forth in this
agreement). There have been no promises from anyone as to what sentence the Court will
impose. The Defendant also represents that the Defendant is pleading guilty because the
Defendant is in fact guilty.

VIOLATION OF PLEA AGREEMENT

15. | The Defendant agrees that if the Defendant violates any provision of this
agreement, the United States may declare this agreement null and void, and the Defendant will
thereafter be subject to prosecution for any criminal violation, including but not limited to any
crime(s) or offense(s) contained in or related to the charges in this case, as well as perjury, false
statement, obstruction of justice, and any other crime committed by the Defendant during this
prosecution.

SPECIAL ASSESSMENT

16. At the time of sentencing, the Defendant will tender to the United States District
Court, District of New Mexico, 333 Lomas Blvd. NW, Suite 270, Albuquerque, New Mexico
87102, a money order or certified check payable to the order of the United States District Court

in the amount of $25.00 in payment of the special penalty assessment described above.
Case 1:12-cr-01248-MV Document 121 Filed 03/01/13 Page 7 of 8

ENTIRETY OF AGREEMENT

17. This document is a complete statement of the agreement in this case and may not be
altered unless done so in writing and signed by all parties. The parties agree and stipulate that this
Agreement will be considered part of the record of defendant's guilty plea hearing as if the entire
Agreement had been read into the record of the proceeding. This agreement is effective upon
signature by defendant and an Assistant United States Attorney.

AGREED TO AND SIGNED this /¥ day of ten... AAT

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KENNETH J. GONZALES
United States Attorney

oo _

JACOB A. WI
ist hited States Attorney
Ost Office Box 607
Albuquerque, New Mexico 87102
(505) 346-7274

lam HERBERT BEN, Jr.’s attorney. I have carefully discussed every part of this
Agreement with my client. Further, I have fully advised my client of his rights, of possible
defenses, of the sentencing factors set forth in 18 U.S.C. § 3553(a), of the relevant Sentencing
Guidelines provisions, and of the consequences of entering into this Agreement. To my
knowledge, my client’s decision to enter into this Agreement is an informed and voluntary one.

MICHAEL ALARID, Jr.
Attorney for the Defendant

Case 1:12-cr-01248-MV Document 121 Filed 03/01/13 Page 8 of 8

I understand the terms of this Agreement, and I voluntarily agree to those terms. My
attorney has advised me of my rights, of possible defenses, of the sentencing factors set forth in 18
U.S.C. § 3553(a), of the relevant Sentencing Guidelines provisions, and of the consequences of
entering into this Agreement. No promises or inducements have been given to me other than
those contained in this agreement. No one has threatened or forced me in any way to enter into
this Agreement. Finally, | am satisfied with the representation of my attorney in this matter.

VI

HERBERT BEN, Jr.
Defendant

